448 F.2d 773
    INGALLS SHIPBUILDING CORPORATION and American Mutual Liability Insurance Company, Plaintiffs-Appellants,v.Raymond E. NEUMAN, Deputy Commissioner United States Employees Compensation Commission, Seventh District, Defendant-Appellee, andLuieda Belton, Intervenor.
    No. 71-1490 Summary Calendar.*
    United States Court of Appeals, Fifth Circuit.
    September 15, 1971.
    
      William M. Rainey, White &amp; Morse, Eldon L. Bolton, Jr., Gulfport, Miss., for plaintiffs-appellants.
      Robert E. Hauberg, U. S. Atty., Jackson, Miss., Lorant, Bouloukos &amp; Kopelousos, Jerry O. Lorant, Birmingham, Ala., Eaton A. Lang, Jr., Gulfport, Miss., Morton Hollander, Thomas J. Press., Attys., L. Patrick Gray, III, Asst. Atty. Gen., Kathryn H. Baldwin, Atty., Dept. of Justice, Washington, D. C., for defendant-appellee.
      Before BELL, AINSWORTH, and GODBOLD, Circuit Judges.
      PER CURIAM:
    
    
      1
      This appeal is taken from an order of the district court, 322 F.Supp. 1229, denying a petition to enjoin an award by the United States Employees' Compensation Commission under the provisions of the Longshoremen's and Harbor Workers' Compensation Act, 33 U.S.C.A. § 901 et seq.
    
    
      2
      The deputy commissioner, after an evidentiary hearing, found, inter alia, that the children of the decedent Patrick Wright were acknowledged illegitimate children dependent upon the deceased within the meaning of 33 U.S.C.A. § 902(14) and therefore entitled to receive death benefits. We agree with the district court that there was substantial evidence on the record as a whole to support this finding, and that the award was otherwise in accordance with law.
    
    
      3
      Affirmed.
    
    
      
        Notes:
      
      
        *
         Rule 18, 5 Cir., Isbell Enterprises, Inc. v. Citizens Casualty Company of New York et al., 5 Cir., 1970, 431 F.2d 409, Part I
      
    
    